      Case: 1:17-cv-04412 Document #: 75 Filed: 03/01/18 Page 1 of 2 PageID #:1665



                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

    TOPSTEPTRADER, LLC
                   Plaintiff,

          v.                                            Case Number: 17-cv-4412

    ONEUP TRADER, LLC, and                              Hon. Judge Harry D. Leinenweber
    SATTAM ALSABAH,
                    Defendants.


                                        Notice of Motion

         PLEASE TAKE NOTICE that on March 20, 20181 at 9:30 am, or as soon thereafter as

counsel may be heard, Plaintiff TopstepTrader, LLC shall appear before the Honorable Judge

Harry D. Leinenweber, or any judge sitting in his stead in courtroom 1941 of the U.S. District

Court of the Northern District of Illinois, Eastern Division, 219 S Dearborn St., Chicago, Illinois,

and shall present its Motion for Leave to File a Surreply or for Additional Briefing on Two

Topics.

    Dated: March 1, 2018                             Respectfully submitted,

                                                     TOPSTEPTRADER, LLC,

                                                     By: s/ Adam Wolek                       .
                                                     Adam Wolek
                                                     awolek@taftlaw.com
                                                     TAFT STETTINIUS & HOLLISTER LLP
                                                     111 E. Wacker Drive, 28th Floor
                                                     Chicago, Illinois 60601
                                                     Phone: (312) 836-4063
                                                     Fax: (312) 966-8598
                                                     Attorneys for Plaintiff TopstepTrader, LLC



1
 Plaintiff wanted to be mindful of Judge Leinenweber’s motion schedule, and noticed the
hearing on a previously scheduled hearing date.
                                                 1
   Case: 1:17-cv-04412 Document #: 75 Filed: 03/01/18 Page 2 of 2 PageID #:1666



                                CERTIFICATE OF SERVICE

       The undersigned certifies that, on March 1, 2018, he caused this document to be served

upon the following counsel of record through electronic mail delivery.

 Christopher T Grohman
 Duane Morris LLP
 190 S. LaSalle Street
 Suite 3700
 Chicago, IL 60603
 (312) 499-0118
 Email: ctgrohman@duanemorris.com

 David J Wolfsohn
 Duane Morris LLP
 30 S. 17th Street
 Philadelphia, PA 19103
 215-979-1866
 Email: djwolfsohn@duanemorris.com




                                                By:    /s/ Adam Wolek




                                               2
